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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                 October 31, 2018
                                        HEARING MINUTES AND ORDER
                                                                                David J. Bradley, Clerk

Cause Number: 18cv2344

Style: Siemens Product Lifecycle Management Software Inc. v. Does 1-107

Appearances:
Counsel:                                                 Representing:

Andrew Bluebond                                          Plaintiff
Joshua A. Verde                                          Defendant Doe # 55


Date: October 30, 2018                                   ERO: Yes
Time: 12:15 p.m. - 12:29 p.m.                            Interpreter:


At the hearing the Court made the following rulings:

Motion hearing held.

Motion to Quash Subpoena by Doe # 55 [Doc. # 18] is GRANTED in part and DENIED in
part, in accordance with the record in open court. The parties must submit by November 5,
2018, a proposed order memorializing the Court’s rulings and applying them to all
defendants or objectors in this case.

SIGNED at Houston, Texas this 30th day of October, 2018.




                                                        NAN Y F. ATLAS
                                               SENIOR UNI   STATES DISTRICT JUDGE




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